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     9   Attorneys for Plaintiff
    10
                                 UNITED STATES DISTRICT COURT
    11                         NORTHERN DISTRICT OF CALIFORNIA
                                      OAKLAND DIVISION
    12

    13
         UNITED STATES OF AMERICA,                      )          E-Filing
    14
                   Plaintiff,                           )
    15                                                  )
                   v.                                   )          Civil Action No.CV 10- 4664 CW
    16   PACIFIC MEZZANINE FUND, L.P.                   )
                                                        )
    17
                        Defendant.                      )
    18
                     STIPULATION FOR CONSENT ORDER; CONSENT ORDER
    19
                Before this Court is the Complaint by the United States of America, on behalf of
    20

    21
         the United States Small Business Administration (“SBA”), for a permanent injunction,

    22   and the appointment of the SBA as Permanent Receiver for Pacific Mezzanine Fund, L.P.
    23   (“Pacific”). The Court, being fully advised as to the merits, and based upon the consent
    24
         of the parties, believes this relief should be granted:
    25

    26

    27   IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

    28




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     1           1.      Pursuant to the provisions of 15 U.S.C. § 687c, this Court shall take
     2
         exclusive jurisdiction of Pacific Mezzanine Fund, L.P. (hereinafter “Pacific”) and all of
     3
         its assets, wherever located, and the United States Small Business Administration
     4

     5
         ("SBA"), is hereby appointed receiver (“the Receiver”) of Pacific to serve without bond

     6   until further order of this Court. The Receiver is appointed for the purpose of
     7   administering, marshalling and, if necessary, liquidating all of Pacific’s assets to satisfy
     8
         the claims of creditors therefrom in the order of priority as determined by this Court.
     9
                 2.      The Receiver shall have all powers, authorities, rights and privileges
    10

    11   heretofore possessed by the general partners, managers, officers, and directors of Pacific

    12   under applicable state and federal law and by the Certificate of Limited Partnership and
    13
         Partnership Agreement of said partnership, in addition to all powers and authority
    14
         conferred upon the Receiver by the provisions of 15 U.S.C. § 687c and 28 U.S.C. § 754.
    15
         The general partners, managers, directors, officers, employees and agents of Pacific are
    16

    17   hereby dismissed. Such persons shall have no authority with respect to Pacific’s operations

    18   or assets, except as may hereafter be expressly granted by the Receiver. The Receiver shall
    19
         assume and control the operation of Pacific and shall pursue and preserve all of its claims.
    20
                 3.      The past and/or present officers, directors, agents, managers, general
    21
         partners, accountants, attorneys and employees of Pacific, as well as all those acting in their
    22

    23   place, are hereby ordered and directed to turn over to the Receiver forthwith all books,
    24   records, documents, accounts and all other instruments and papers of said partnership and
    25
         all other assets and property of the partnership, whether real or personal. Pacific shall
    26
         furnish a written statement within five (5) days after the entry of this Order, listing the
    27

    28
         identity, location and estimated value of all assets of Pacific as well as the names, addresses




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     1   and amounts of claims of all known creditors of Pacific. All persons having control,
     2
         custody or possession of any assets or property of Pacific, including its General Partner, are
     3
         hereby directed to turn such property over to the Receiver.
     4

     5
                 4.      The Receiver shall promptly give notice of its appointment to all known

     6   officers, directors, agents, managers, general partners, employees, limited partners,
     7   creditors, debtors and agents of Pacific. All persons and entities owing any obligations or
     8
         debts to Pacific shall, until further order of this Court, pay all such obligations in
     9
         accordance with the terms thereof to the Receiver, and its receipt for such payments shall
    10

    11   have the same force and effect as if Pacific had received such payments.

    12           5.      The Receiver is hereby authorized to open such Receiver's bank accounts, at
    13
         banking or other financial institutions, to extend credit on behalf of Pacific, to utilize SBA
    14
         personnel, and to employ such other personnel as necessary to effectuate the operation of
    15
         the receivership including, but not limited to, attorneys and accountants, and is further
    16

    17   authorized to expend receivership funds to compensate such personnel in such amounts and

    18   upon such terms as the Receiver shall deem reasonable in light of the usual fees and billing
    19
         practices and procedures of such personnel. The Receiver is not required to obtain Court
    20
         approval prior to the disbursement of receivership funds for payments to personnel
    21
         employed by the Receiver or payments for expenses incidental to administration of the
    22

    23   Receivership. In addition, the Receiver is authorized to reimburse the SBA or its
    24   employees for travel expenses incurred by SBA personnel in the establishment and
    25
         administration of the receivership. The Receiver may, without further order of this Court,
    26
         transfer, compromise, or otherwise dispose of any claim or asset, other than real estate,
    27

    28
         which would result in net proceeds to the Receiver and the receivership estate.




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     1           6.      Pacific’s past and/or present officers, directors, agents, managers, general
     2
         partners, limited partners, employees, and other appropriate persons (including, without
     3
         limitation, the defendant's portfolio of small business concerns and banks or other financial
     4

     5
         institutions doing business with defendant and/or defendant's portfolio of small business

     6   concerns) shall answer under oath, pursuant to a Receiver’s Notice or Subpoena, to the
     7   Receiver, all questions which it may put to them regarding the business of said partnership,
     8
         or any other matter relevant to the operation or administration of the receivership or the
     9
         collection of funds due to Pacific. In the event that the Receiver deems it necessary to
    10

    11   require the appearance of the aforementioned persons, the production of documents,

    12   information, or any other form of discovery concerning the assets, property or business
    13
         assets of Pacific, or any other matter relevant to the operation or administration of the
    14
         Receivership or the collection of funds due to Pacific, the Receiver shall direct notice for
    15
         any such appearance by certified mail, and said persons shall appear and give answer to the
    16

    17   Receiver, produce documents or submit to any other form of discovery in accordance with

    18   the Federal Rules of Civil Procedure.
    19
                 7.      The parties or prospective parties to any and all civil legal proceedings
    20
         wherever located, including, but not limited to arbitration proceedings, bankruptcy or
    21
         foreclosure actions, default proceedings, or any other proceedings involving (i) Pacific, (ii)
    22

    23   any assets of Pacific, (iii) the Receiver for Pacific or (iv) Pacific’s present or past officers,
    24   directors, managers, or general partners (including the managers or members of such
    25
         general partner) to the extent said civil legal proceedings involve any action taken by them
    26
         while acting in their official capacity with Pacific, are enjoined from taking any action,
    27

    28
         including discovery, commencing or continuing any legal proceeding of any nature without




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     1   further order of this Court. Notwithstanding the foregoing, the following matters are
     2
         specifically excluded and exempt from the provisions of this paragraph: In re: Matterhorn
     3
         Group, Inc., In re: Deluxe Ice Cream Company, and In re: Vitafreze Frozen Confections,
     4

     5
         Inc., all pending in the United States Bankruptcy Court for the Eastern District of

     6   California as a consolidated bankruptcy action, Case No. 10-39664.
     7           8.      All civil legal proceedings wherever located, including arbitration
     8
         proceedings, foreclosure activities, bankruptcy actions, or default proceedings, but
     9
         excluding the instant proceeding, involving (i) Pacific, (ii) any of assets of Pacific, (iii) the
    10

    11   Receiver for Pacific or (iv) Pacific's present or past officers, directors, managers, or general

    12   partners (including the managers or members of such general partner) to the extent said
    13
         civil legal proceedings involve any action taken in their official capacity for Pacific are
    14
         stayed in their entirety, and all Courts having any jurisdiction thereof are enjoined from
    15
         taking or permitting any action in such proceedings until further Order of this Court.
    16

    17   Notwithstanding the foregoing, the following matters are specifically excluded and exempt

    18   from the provisions of this paragraph: In re: Matterhorn Group, Inc., In re: Deluxe Ice
    19
         Cream Company, and In re: Vitafreze Frozen Confections, Inc., all pending in the United
    20
         States Bankruptcy Court for the Eastern District of California as consolidated bankruptcy
    21
         action, Case No. 10-39664.
    22

    23           9.      As to a cause of action accrued or accruing in favor of Pacific against a
    24   third person or party, any applicable statute of limitation is tolled to the extent allowed by
    25
         applicable law during the period in which this injunction against commencement of legal
    26
         proceedings is in effect as to that cause of action.
    27

    28




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     1          10.     Pacific and its past and/or present directors, officers, managers, general
     2
         partners, agents, employees and other persons acting in concert or participation therewith
     3
         be, and they hereby are, enjoined from either directly or indirectly taking any actions or
     4

     5
         causing any such action to be taken which would dissipate the assets and property of

     6   Pacific to the detriment of the Receiver appointed in this cause, including but not limited to
     7   destruction of partnership records, or which would violate the Small Business Investment
     8
         Act of 1958, as amended, (the "SBIA"), 15 U.S.C. Section 661 et seq., or the regulations
     9
         promulgated thereunder, (the "Regulations"), 13 C.F.R. § 107.1 et seq.
    10

    11          11.     The Receiver is authorized to borrow on behalf of Pacific, from the SBA,

    12   up to $1,000,000, and is authorized to cause Pacific to issue Receiver's Certificates of
    13
         Indebtedness in the principal amounts of the sums borrowed, which certificates will bear
    14
         interest at or about 10 percent per annum and will have a maturity date no later than 18
    15
         months after the date of issue. Said Receiver's Certificates of Indebtedness shall have
    16

    17   priority over all other debts and obligations of Pacific, excluding administrative expenses

    18   of the Receivership, whether presently existing or hereinafter incurred, including without
    19
         limitation any claims of partners of Pacific.
    20
                12.     This Court determines and adjudicates that Pacific has violated 13 C.F.R. §
    21
         107.1830(b) and 13 C.F.R. § 107.507(a) of the Regulations as alleged in the Complaint
    22

    23   filed in this matter. After completing its activities in accordance with this Order, the
    24   Receiver may recommend that Pacific’s license as an SBIC be revoked and may
    25
         recommend that control of the limited partnership be returned to Pacific’s general partner.
    26
                13.     Judgment is hereby entered in favor of the United States of America and
    27

    28
         against Pacific in the amount of $20,369,824.25, consisting of $19,339,924.33 principal




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     1   and $1,029,899.92 accrued interest with a per diem interest rate of $3,107.89 through the
     2
         date of judgment plus post judgment interest pursuant to 28 U.S.C. § 1961 as of the date
     3
         judgment is entered.
     4

     5
         //

     6   //
     7   //
     8
         //
     9
         //
    10

    11   //

    12   //
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    23   //
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    27

    28   //




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     1   THE PARTIES BY THEIR SIGNAURE BELOW INDICATE THAT THEY
         STIPULATE AS TO THE FORM AMD CONTENT OF THIS CONSENT ORDER:
     2

     3   U.S. SMALL BUSINESS ADMINISTRATION

     4

     5   By:     _______________________

     6           Thomas G. Morris
                 Director, Office of Liquidation
     7           U.S. Small Business Administration
     8
                 Investment Division
                 Date:______________
     9

    10
         PACIFIC MEZZANINE FUND, L.P.
    11

    12

    13
         By: ___________________________
    14
         Its:
    15
         Date:
    16

    17
         BY STIPULATION OF THE PARTIES, IT SO ORDERED
    18
         this 15th day of November, 2010.
    19

    20

    21
                                             ______________________________________
    22                                       HONORABLE CLAUDIA WILKEN
                                             UNITED STATES DISTRICT COURT JUDGE
    23

    24

    25

    26

    27

    28




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